






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00298-CV






Mickey V. Elliott, Appellant


v.


Rockwood Village Partners, Ltd., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-11-000450, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Mickey V. Elliott sued Rockwood Village Partners, Ltd. ("Rockwood") for breach
of a promissory note ("the Elliott Note").  Rockwood asserted various affirmative defenses and
counterclaims, including breach of contract and breach of the duty of loyalty by Elliott.  After a
bench trial, the district court ruled in Rockwood's favor and reformed the Elliott Note's payment
term.  The court also rendered judgment that the Elliott Note was not yet due and payable and that
Elliott's conduct constituted breach of contract and breach of his duty of loyalty as one
of&nbsp;Rockwood's limited partners.  The court ordered Elliott to pay Rockwood's attorneys' fees.  In
six&nbsp;issues, Elliott challenges the attorneys' fee award, the trial court's conclusion that the Elliott Note
was not due and payable, and the manner in which the court reformed the note's payment term.  We
will reverse the judgment in part and modify it in part.



FACTUAL AND PROCEDURAL BACKGROUND

		Elliott is one of Rockwood's limited partners.  In December 2009, Elliott loaned
Rockwood $36,000 to enable Rockwood to pay its 2009 property taxes and cover some other minor
expenses.  In exchange, Rockwood executed the Elliott Note in the principal amount of $36,000,
with the following payment term:


	Terms of payment (principal and interest):  All principal and accrued interest
thereon shall be paid in full by Maker to Payee by no later than December 31, 2010.


The Elliott Note identified Rockwood as the "Maker" and was executed by Rockwood's general
partner at the time, Rockwood Village Management, Inc.

		In January 2011, after the note had not been paid by the due date, Elliott's counsel
sent a letter to Rockwood demanding payment.  Rockwood took the position that because the Elliott
Note had a specific due date, it violated a provision of the Rockwood Limited Partnership Agreement
(the "Partnership Agreement") and was therefore unenforceable.  The provision Rockwood relied
on was section 7.03 of the Partnership Agreement, which provides:


	7.03 Distribution of monies.  Partnership expenses and mortgages shall be promptly
paid in the normal order of business.  Loans from limited partners (including
interest) shall be repaid quarterly, as net profits are available to do so in the
judgment of the general partner.


(Emphasis added.)  Rockwood maintained that this provision prohibited a promissory note given in
exchange for a loan from a limited partner from having a specific due date and required that the
payment term for a limited-partner loan could only state that the loan "be repaid quarterly, as net
profits are available to do so in the judgment of the general partner."  In other words, Rockwood took
the position that not only was it not obligated to make quarterly payments, it never had to repay the
Elliott Note unless "net profits" were available.  According to Elliott, Rockwood informed him that,
in the general partner's judgment, sufficient funds were not available for repayment of the note.

		Thereafter, Elliott sued Rockwood alleging that the Elliott Note was due and payable
and asserting a breach-of-contract cause of action.  Elliott also contended that Rockwood was
estopped from refusing to repay the note on its stated maturity date and asserted a cause of action
for "money had and received."  In its answer, Rockwood asserted as a defense that the Elliott Note
was void as written because it "provides for a short-term maturity date in contravention of the
requirement that loans from limited partners are to be paid as net profits become available in the
judgment of the general partner."  Rockwood also asserted counterclaims for:  (1) breach of contract,
asserting that Elliott breached the Partnership Agreement by taking a promissory note with a
short-term maturity date and seeking to collect on it; (2) breach of the duty of loyalty, for essentially
the same conduct; and (3) reformation, asking the court "for an order reforming the promissory note
to conform to § 7.03 of the [Partnership Agreement] providing for repayment of loans in quarterly
payments as net profits are available in the judgment of the general partner."  Rockwood
subsequently filed an amended answer in which it asserted a new counterclaim for "estoppel,"
dropped the counterclaim for reformation, and replaced the reformation counterclaim with a "request
for declaratory judgment" asking the court to declare that the Elliott Note is "payable quarterly as
net profits are available to do so in the judgment of the general partner."

		The case was tried to the bench.  Rockwood contended that the Elliott Note was not
due and payable because the Partnership Agreement prohibits making notes payable on a fixed date,
but rather contemplates only that notes from limited partners be repaid as profits become available
in the judgment of the general partner.  Elliott countered that Rockwood had waived any such
prohibition by executing numerous limited-partner promissory notes with specific due dates.  These
included several notes to limited partners made in exchange for money loaned to Rockwood for the
purpose of purchasing its principal asset, a shopping center.  The trial court ruled that the Elliott Note
was not due and payable and made the following relevant findings of fact and conclusions of law:


	FOF 18:	The Partnership has had no net profits available to repay the Elliott
Note at any time since Mr. Elliott made the loan evidenced by the
Elliott Note.


	FOF 24:	The Elliott Note is valid and enforceable as reformed to comply with
§ 7.03 of the Partnership Agreement such that it is due and payable
when the Partnership has net profits available to pay it.


	CL 11:	The terms of the Partnership Agreement apply to Mr. Elliott's loan
and the Elliott Note.


	CL 12:	Mr. Elliott's loan is "payable as net profits are available to do so in
the judgment of the general partner."


	CL 13:	The Partnership did not waive the repayment terms of loans as
provided in § 7.03 of the Partnership Agreement with respect to Mr.
Elliott's loan.


	CL 15:	The Elliott Note is not due and payable because the Partnership has
not had net profits available to pay it, as required by § 7.03 of the
Partnership Agreement, and Mr. Elliott is not entitled to recover
under the Elliott Note in accordance with his claim.


From these findings and conclusions, it is obvious that the trial court's ultimate ruling that the Elliott
Note was not yet due and payable was based on its determination that:  (1) section 7.03 of the
Partnership Agreement prohibited agreements that would require loans from limited partners to be
repaid by a specific due date, and (2) in order to comply with the Partnership Agreement, the Elliott
Note's payment term must be reformed to provide that it is due and payable only when and to the
extent Rockwood has net profits available to pay it.  The trial court concluded that the note as written
was not in compliance with the provisions of the Partnership Agreement, reformed it in a manner
that, in its view, rendered it compliant, and declared that, as reformed, it was not due and payable. 
The court also rendered judgment that by taking and attempting to enforce the note, Elliott had
breached the Partnership Agreement and breached his duty of loyalty to Rockwood.  The court did
not, however, find that Rockwood had suffered any damages as a result of these breaches.  Finally,
the judgment ordered Elliott to pay Rockwood $67,000 in attorneys' fees and included conditional
awards for Rockwood's appellate attorneys' fees.  Elliott then perfected this appeal.


DISCUSSION


Waiver of Partnership Agreement Section 7.03

		In his fourth issue, Elliott contends that the trial court erred in concluding that the
Elliott Note as originally written violated the terms of the Partnership Agreement and by reforming
it in a manner that rendered it not yet due and payable.  In support of this contention, Elliott's sole
argument on appeal is that Rockwood had waived compliance with section 7.03 of the Partnership
Agreement by executing promissory notes to a number of other limited partners that contained
specific due dates--either expressly stated or ascertainable from payment and amortization tables. 
In other words, Elliott contends only that Rockwood waived its right to claim that it was not
obligated to repay limited-partner loans until net profits were available regardless of a date specified
in the note itself.  Elliott did not raise an appellate issue, nor does he argue, that the promissory note
is valid and enforceable as written for any reason other than Rockwood's waiver.

		Waiver exists if a party intentionally relinquishes a known right or engages in
intentional conduct inconsistent with claiming that right.  See Tenneco Inc. v. Enterprise Prods. Co.,
925 S.W.2d 640, 643 (Tex. 1996).  In order to evaluate Elliott's waiver argument, we must first
consider whether the various promissory notes in which Rockwood agreed to repay limited-partner
loans by a date certain are actually inconsistent with section 7.03 of the Partnership Agreement. 
Only if there is an inconsistency could the execution of those notes be found to constitute either the
relinquishment of a known right or conduct inconsistent with claiming that right.  The question
presented, then, is one of contract interpretation:  Does the Partnership Agreement confer on
Rockwood the right to refuse to repay any loan from a limited partner unless and until net profits are
available?  We conclude that it does not.

		Absent ambiguity, which we do not find here, the construction of a contract is a
question of law for the court.  Buys v. Buys, 924 S.W.3d 369, 372 (Tex. 1996).  We examine the
entire document and consider each part with every other part so that the effect and meaning of one
part on any other part may be determined.  Heritage Res., Inc. v. NationsBank, 939 S.W.2d 118, 121
(Tex. 1996).  We interpret the contract by ascertaining the true objective intentions of the parties,
based on the contract language.  SAS Inst., Inc. v. Breitenfeld, 167 S.W.3d 840, 841 (Tex. 2005). 
We presume that the parties to a contract intended every clause to have some effect.  Heritage Res.,
Inc., 939 S.W.2d at 121.  We give words their plain, common, or generally accepted meaning unless
the instrument shows that the parties used them in a technical or different sense.  Id.

		Here, the crucial inquiry is whether the Partnership Agreement manifests an intent
that limited-partner loans cannot be made due and payable on or by a specific date.  Rockwood
asserts that such intent is found primarily in section 7.03.  That section, however, titled "Distribution
of monies," merely states that loans from limited partners "shall be repaid quarterly, as net profits
are available to do so in the judgment of the general partner."  Nothing in this provision prohibits
making a promissory note with a specific final due date.  Rather, it simply requires that if "net
profits" are available, Rockwood must make payments on limited-partner loans on a quarterly basis
instead of waiting until the date the note is due and payable.  Section 7.03 thus places on Rockwood
an additional burden (to repay quarterly, if possible); it does not remove the obligation to comply
with the express terms of a promissory that has a specific due date.

		This interpretation is consistent with the sample promissory note attached to the
Partnership Agreement itself, which includes the following payment term:


	Payment Schedule:  Payments shall be quarterly and shall be in an amount equal to
$____________ (or more) per month until the note is paid in full.  Such quarterly
payments shall be made until the entire principal and accrued interest on such note
is paid in full.  Payments shall be credited first to interest and then to principal. 
Payments on all other notes of even date herewith from Maker to all other partners
of Rockwood Village Partners, Ltd. must be made at the same time payment is made
on this note.


This form promissory note attached to the Partnership Agreement does not contain any language
precluding partner loans that would require repayment by a date certain--a date that could, if
necessary, be determined by creating an amortization schedule using the interest rate, the total
amount of the loan, and the designated quarterly payment. (1)

		Thus, we conclude that the Partnership Agreement does not prohibit or prevent
Rockwood from making a promise to repay a limited partner on or by a date certain, nor does it give
Rockwood the right to refuse to repay such a loan until, in the general partner's judgment,
"net&nbsp;profits" are available to do so.  Consequently, the fact that Rockwood executed various
limited-partner promissory notes containing specific due dates is not inconsistent with the terms of
section 7.03 and therefore cannot be found to result in the waiver of any of the Partnership
Agreement's provisions.

		Even if we found section 7.03 of the Partnership Agreement to be ambiguous, we
would reach the same result here.  It is well settled that if a contract is ambiguous, a court should
adopt the construction of the instrument placed on it by the parties themselves unless there is clear
language in the instrument indicating a contrary intent.  Hackberry Creek Country Club, Inc.
v.&nbsp;Hackberry Creek Home Owners Ass'n, 205 S.W.3d 46, 56 (Tex. App.--Dallas 2006, pet. denied). 
By giving numerous promissory notes to limited partners that contained a fixed due date, Rockwood
clearly manifested its construction of the Partnership Agreement to be that section 7.03 did not
prohibit such a provision.  Rockwood's own interpretation of section 7.03, as manifested by its
actions done in the course of performance, must be given great weight by a court seeking to discern
the parties' intent:


	No principle of interpretation of contracts is more firmly established than that great,
if not controlling, weight should be given by the court to the interpretation placed
upon a contract of uncertain meaning by the parties themselves.  Courts rightfully
assume that parties to a contract are in the best position to know what was intended
by the language employed.


Harris v. Rowe, 593 S.W.2d 303, 306 (Tex. 1979).

		In summary, we conclude that Rockwood's execution of promissory notes containing
specific due dates is neither inconsistent with nor prohibited by the Partnership Agreement. 
Accordingly, executing such notes did not result in a waiver of any provision of the Partnership
Agreement.  We overrule Elliott's fourth appellate issue, which depends entirely on a finding
of&nbsp;waiver.


Reformation of the Promissory Note

		In his fifth issue, Elliott challenges the trial court's reformation of the Elliott Note to
change the payment term from providing that the note "shall be paid in full by Maker to Payee by
no later than December 31, 2010" to providing that it is "due and payable when [Rockwood] has net
profits available to pay it."  He contends that the note should be reformed in a more equitable manner
that puts his own right to repayment on equal footing with that of other limited partners who have
loaned Rockwood money, specifically, to include the following payment provision:


	The note is payable the sooner of (1) cash flow that is not needed for operations or
reserves for the partnership's property and that is available in the reasonable
discretion of the general partner of the partnership, (2) the closing of the sale of the
property, or (3) the funding date of any refinancing of the mortgage on the property.



		Reformation is an equitable remedy available on proof of the terms of the actual,
intended agreement, coupled with proof that the written instrument is in error due to either a mutual
mistake or a unilateral mistake accompanied by the adversary's inequitable conduct.  See Davis
v.&nbsp;Grammar, 750 S.W.2d 766, 767-68 (Tex. 1988).  Inequitable conduct may be found to exist when
one party knows a writing contains a mistake but does not mention the mistake in order to benefit
from the other party's oversight.  See id. at 768 (holding that this type of "mistake and silence" is
equivalent to mutual mistake); Cambridge Cos. v. Williams, 602 S.W.2d 306, 309 (Tex. Civ.
App.--Texarkana 1980) (holding that party's silence in face of known mistake constitutes
"inequitable conduct"), aff'd, 615 S.W.2d 172 (Tex. 1981).  In such instances the silent party will
not be allowed to take unfair advantage of a known mistake.  See, e.g., Hamberlin v. Longview Bank
&amp; Trust Co., 770 S.W.2d 12, 14 (Tex. App.--Texarkana 1989, writ denied).

		In the present case, the trial court reformed the Elliott Note because it concluded that
the note contravened the Partnership Agreement by purporting to allow Elliott to collect the note on
its maturity date.  But as we have held above, the Elliott Note as originally drafted did not contravene
the terms of the Partnership Agreement, and therefore reformation was not necessary to make it valid
and enforceable as written.  The other apparent basis for the trial court's reformation is likewise
erroneous--i.e., that Elliott breached a duty of loyalty by loaning Rockwood money on the terms
contained in the Elliott Note or by attempting to collect the debt evidenced by the note in violation
of the terms of the Partnership Agreement.  Neither of the stated bases supports the trial court's
reformation of the note.

		With the exception of the waiver issue discussed above, however, Elliott has not
brought an appellate issue asserting that the trial court erred in reforming the note at all.  Rather, he
argues in his fifth issue that the note should have been reformed in a more equitable way.  In light
of that, we will sustain issue five and grant only the relief Elliott has requested, i.e., that the
reformation of the Elliott Note provide for payment terms equivalent to those contained in
promissory notes given to other limited partners.  We decline, however, Elliott's request to raise the
interest rate from 10% to 12%.  The interest rate is not part of the payment term that was erroneously
reformed by the trial court. (2)


Attorneys' Fees

		In his first appellate issue, Elliott contends that the trial court erred by awarding
Rockwood its attorneys' fees pursuant to civil practice and remedies code section 38.001(8) when
the trial court did not award Rockwood damages for Elliott's breach of the Partnership Agreement
found by the court. (3)  Rockwood's breach-of-contract cause of action alleged that Elliott breached the
Partnership Agreement by accepting the Elliott Note and attempting to collect on it.  Although the
trial court found that such breaches occurred, it did not award damages or grant other relief pursuant
to Rockwood's breach-of-contract claim.  Section 38.001(8) provides that a party "may recover
reasonable attorney's fees from an individual or corporation, in addition to the amount of a valid
claim and costs, if the claim is for . . . an oral or written contract."  Tex. Civ. Prac. &amp; Rem. Code 
Ann. § 38.001(8) (West 2008).  The Texas Supreme Court has held that to recover attorney's
fees&nbsp;under section 38.001, a party must (1) prevail on a cause of action for which attorney's
fees&nbsp;are&nbsp;recoverable, and (2) recover damages.  See Mustang Pipeline Co. v. Driver Pipeline Co.,
134&nbsp;S.W.2d&nbsp;195, 201 (Tex. 2004); Green Int'l, Inc. v. Solis, 951 S.W.2d 384, 390 (Tex. 1997) (citing
State Farm Life Ins. Co v. Beaston, 907 S.W.2d 430, 437 (Tex. 1995)).  Because Rockwood did not
recover damages pursuant to its breach-of-contract claim, an award of attorneys' fees was not
available under section 38.001(8). (4)

		In his second issue, Elliott contends that the trial court erred by awarding Rockwood
its attorneys' fees pursuant to civil practice and remedies code section 37.009, which authorizes the
court to award reasonable and necessary attorneys' fees as are equitable and just in any proceeding
brought under the Uniform Declaratory Judgments Act (UDJA).  See Tex. Civ. Prac. &amp; Rem. Code
Ann. §§ 37.001-.011 (West 2008).  The purported basis for awarding fees pursuant to the UDJA was
the trial court's "declaration" in its judgment that the Elliott Note was reformed.

		The UDJA is "not available to settle disputes already pending before a court."  BHP
Petroleum Co. Inc. v. Millard, 800 S.W.2d 838, 841 (Tex. 1990).  Awarding attorneys' fees under
the UDJA is improper if declaratory relief is requested for the first time in an amended petition
and&nbsp;merely raises the same issues already pending in the action.  See Etan Indus., Inc. v. Lehmann,
359&nbsp;S.W.3d 620, 624 (Tex. 2011) ("[S]imply repleading a claim as one for a declaratory judgment
cannot serve as a basis for attorney's fees, since such a maneuver would abolish the American Rule
and make fees 'available for all parties in all cases.'") (quoting MBM Fin. Corp. v. Woodlands
Operating Co., 292 S.W.3d 660, 669 (Tex. 2009)); Adams v. First Nat'l Bank of Bells/Savoy,
154&nbsp;S.W.3d 859, 873 (Tex. App.--Dallas 2005, no pet.) ("A declaratory judgment action is improper
if declaratory relief is requested for the first time in an amended petition and merely raises the same
issues.").  In its original answer, Rockwood asserted a counterclaim for reformation, specifically
requesting that the trial court "reform the promissory note[] to conform to § 7.03 of the [Partnership
Agreement]."  In its amended petition, Rockwood recast its request for reformation of the contract
as a "request for declaratory judgment," in which it asked for "a ruling that the [Elliott Note] is
payable quarterly as net profits are available to do so in the judgment of the general partner."  It is
obvious that Rockwood simply repackaged its cause of action for reformation, for which attorneys'
fees are not available, into a request for declaratory relief.  Moreover, the judgment itself is not a
declaration of rights so much as a reformation of the payment term of the Elliott Note.  The judgment
recites that it "declares" that "the Elliott Note is reformed."  A party may not plead for declaratory
relief simply to pave the way to recover attorneys' fees.  Etan Indus., 359 S.W.3d at 624.

		We sustain Elliott's first and second appellate issues and hold that Rockwood was
not entitled to attorneys' fees pursuant to civil practice and remedies code section 38.001(8) or
section 37.009. (5)


CONCLUSION

		For the reasons stated above, we reverse the trial court's award of attorneys' fees
to&nbsp;Rockwood and render judgment that Rockwood take nothing on its claim for attorneys' fees. 
In&nbsp;addition, we modify the judgment so that the payment term of the Elliott Note is reformed
to&nbsp;provide:


	The note is payable the sooner of (1) cash flow that is not needed for operations or
reserves for the partnership's property and that is available in the reasonable
discretion of the general partner of the partnership, (2) the closing of the sale of the
property, or (3) the funding date of any refinancing of the mortgage on the property.


The remaining portions of the district court's judgment were not challenged on appeal and are
therefore affirmed.


						_____________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Modified and, as Modified, Affirmed in Part; Reversed and Rendered in Part

Filed:   December 12, 2012
1.   Rockwood urges that the Partnership Agreement distinguishes between loans from partners
it received to purchase assets and loans from partners for operating expenses, such as to pay property
taxes.  While the Partnership Agreement contemplates that partners may make both types of loans
to Rockwood, it contains no provision indicating that repayment of partner loans is to be handled
differently depending on what the money is used for.
2.   Because of our disposition of Elliott's fifth issue, we need not address his sixth issue,
which urges that he be granted relief under equitable and quasi-contract theories.
3.   On appeal Elliott does not challenge the trial court's findings or conclusion regarding his
breach of the Partnership Agreement.
4.   While Rockwood urges that it gained something of value through the trial court's
reformation of the Elliott Note, reformation is an equitable remedy, not one available under a
breach-of-contract theory of recovery.  It cannot, therefore, support an award of attorneys' fees under
section 38.001(8), which provides for recovery of attorneys' fees if the claim is based on "an oral
or written contract."  See Tex. Civ. Prac. &amp; Rem. Code Ann. §&nbsp;38.001(8) (West 2008).
5.   Because of our disposition of Elliott's first and second appellate issues, we need not
address his third issue, which challenges the amount of the attorneys' fee award.


